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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMA DIVISION

    UNITED STATES OF AMERICA §
                                               §
    v.            §      No.          4:1           SCR                 |D3
    RICHARD DENVER BELDEN §
                                               §

                                         INDICTMENT
                                                          judge |ry|
                                                                                 mJUN 13 2018
   THE UNITED STATES GRAND JURY CHARGES:
                                                                              Clerk, U.S. District Court
                                            Count One                              Texas Eastern


                                                     Violation: 18 U.S.C. §§ 2252A(a)(2)(A)
                                                     and (b)(1) (Receipt of Child
                                                     Po ography)

              On or about May 2, 2018, in the Easte District of Texas, Richard Denver

   Belden, defendant, did knowingly receive any child po ography, as defined in Title 18,

   United States Code, Section 2256(8), that had been shipped and transported using any

   means and facility of interstate and foreign commerce, and that had been shipped and

   transported in and affecting interstate and foreign commerce by any means, including by

   computer. Specifically, the defendant, Richard Denver Belden, using a peer-to-peer file

   sharing network, the Internet, and digital devices he owned and possessed, received the

   following visual depiction.

                     FILE IDENTIFIER                            DESCRIPTION
                 (Pthc) jBrand New.avi             This 17-minute, 41-second video consists
                                                   of a compilation of videos depicting the
                                                   same prepubescent female. In the videos,
                                                   an adult male inserts his erect penis into
                                                   the nude, prepubescent female s va ina


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                                                   and mouth, and inserts a foreign object
                                                   into the child s anus.

             In violation of 18 U.S.C. § 2252A(a)(2)(A) and (b)(1).

                                            Cou t Two

                                                      Violation: 18 U.S.C. §§ 2252A(a)(5)(B)
                                                      and (b)(2) (Possession of Child
                                                      Pornography)

             On or about May 15, 2018, in the Easte District of Texas, Richard Denver

   Belden, defendant, did knowingly possess material, namely, a Dell laptop computer,

   black in color and containing a 240GB PNY hard drive bearing identifying number

   PNY29140000552751002, that contained images of child pornography, as defined in

   Title 18, United States Code, Section 2256(8), involving a prepubescent minor and a

   minor who had not attained 12 years of age, that had been shipped and transported using

   any means and facility of interstate and foreign comme ce; that had been shipped and

   transported in and affecting interstate and foreign commerce by any means, including by

   computer; and that had been produced using materials that had been mailed and shipped

   and transported in and affecting interstate and foreign commerce by any means, including

   by computer. Included among the images that the defendant, Richard Denver Belden,

   possessed were the following:

                    FILE NAME                               DESCRIPTION
                         77857.gif         This .gif image plays in a repeating loop and
                                           depicts a nude, prepubescent female. The child is
                                           depicted laying on her back on what appears to be
                                           a bed. The child’s legs are spread and the focal
                                           point of the came a is the child’s genitals; her face
                                           is visible at the top of the image. The child is


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                                          using her fingers to spread her vagina for the
                                          camera.
                       014.jpg            This image file depicts a prepubescent female
                                          lying on her back with her legs pulled up and back
                                          so that her knees are near her head. The child s
                                          pants are pulled down and the focal point of the
                                          camera is the child’s nude vagina. The child is
                                          holding a pink/red colored cylindrical object and
                                          appears to be insertin the object into her va ina.
         0069794001515768432.jpg          This image file depicts a nude adult male with an
                                          erect penis. A prepubescent female is seated on
                                          what appears to be a bed with the adult male’s
                                          erect penis in her hand and penetrating her
                                          mouth. A second prepubescent female is depicted
                                          watching the man and first child.

            In violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).

                                          Count Three

                                                     Violation: 18 U.S.C. §§ 2252A(a)(5)(B)
                                                     and (b)(2) (Possession of Child
                                                     Pornography)

            On or about May 15, 2018, in the Eastern District of Texas, Richard Denver

   Belden, defendant, did knowingly possess material, namely, an HOST 4TB internal hard

   drive, labeled Movies 4TB and bearing serial number LAGG9L4J, that contained

   images of child pornography, as defined in Title 18, United States Code, Section 2256(8),

   involving a prepubescent minor and a minor who had not attained 12 years of age, that

   had been shipped and transported using any means and facility of interstate and foreign

   commerce; that had been shipped and transported in and affecting interstate and foreign

   commerce by any means, including by computer; and that had been produced using

   materials that had been mailed and shipped and transported in and affecting interstate and



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   foreign commerce by any means, including by computer. Included among the images

   that the defendant, Richard Denver Belden, possessed were the following:

                         ILENAME                             DESCRIPTION
      [pthc] (Parts                         This 17-minute, 38-second video depicts a
         2,3,4 - 17m40s) ~ pedomom          prepubescent toddler female and a pubescent
            hurtcore OPVA!!!!! .avi         female. The pubescent female forces the
                                            prepubescent female to digitally and or lly touch
                                            her genitals. The pubescent female penetrates the
                                            prepubescent female s vagina and anus with her
                                            fingers and an ice cube. The prepubescent female
                                            is tied to a bar and hung upside down with duct
                                            tape covering her mouth and clamps on her
                                            nipples and genitals, while hot wax is poured on
                                            her.


                   Pedo Mom.mpg             This 2-minute, 16-second video depicts an adult
                                            female performing oral sex on a nude,
                                           prepubescent female.

           [PTHC] |full(6yo).avi            This 6-minute, 49-second video consists of a
                                            compilation of videos of a prepubescent female.
                                            In one clip, the prepubescent female’s legs are
                                            spread apart and tied to a green bar while a
                                            foreign object is inserted into her vagina and anus.
                                            In another clip, an adult male penetrates the
                                           prepubescent female’s anus with his erect penis.

           Moscow 5-1 (VHS 5) 7yo          This 18-minute, 52-second video consists of a
      daughter Pedo Mom - (Rare dad         compilation of videos of a prepubescent female
           & Daughter PTHC Video)          who is depicted nude, riding a bike; posed on a
              (((Kingpass))).... 1 .avi    bed to display her genitals; blindfolded while an
                                            adult male’s penis penetrates her vagina and
                                           mouth; and masturbating an adult male’s penis.



             In violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).



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                NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

            Upon conviction of the offense(s) alleged in this Indictment, the defendant,

   Richard Denver Belden, shall forfeit to the United States his interest in the following

   property, including, but not limited to:

             1. Dell laptop computer containing a 240GB PNY hard drive, bearing
                       identifying number PNY29140000552751002;

            2. Black homebuilt tower containing hard drives:
                  a. HOST internal 4TB hard drive, bearing serial number LAHE3N3 J;
                  b. Hitachi internal 4TB hard drive, bearing serial number LAGSAL2H;
                  c. HGST internal 4TB hard drive, bearing serial number LAGG9L4J;
                  d. HGST internal 4TB hard drive, bearing serial number LAGUHBHJ;
                  e. Hitachi internal 2TB hard drive, bearing serial number FA0MD3PD;
                      and
                  f. Western Digital internal 6TB hard drive, bearing serial number
                          WXK1H644WX8D.

            This property is forfeitable pursuant to 18 U.S.C. § 2253(a) based upon the

   property being:

             1. any visual depiction described in section .. . 2252 of this chapter, or any
                   book, magazine, periodical, film, videotape, or other matter which contains
                   any such visual depiction, which was produced, transported, mailed,
                   shipped or received in violation of this chapter;
            2. any property, real or personal, constituting or traceable to gross profits or
                       other proceeds obtained from such offense; or
            3. any property, real or personal, used or intended to be used to commit or to
                   promote the commission of such offense.

            By virtue of the commission of the offense alleged in this Indictment, any and all

   interest the defendant has in this property is vested in and forfeited to the United States

   pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3).




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                                          A TRUE BILL


                                          GRAND JURY FOREPERSON

   JOSEPH D. BROWN
            I STATES ATTORNEY

                                          Date: / > /&

   Assistant United States Attorney




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                                IN THE UNITED STATES DISTRICT COU T
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

    UNITED STATES OF AMERICA                         §
                                                     §
    V.                                               §          No. 4:1 SCR
                                                     §          Judge
    RICHARD DENVER BELDEN                            §
                                       NOTICE OF PENALTY

                                               Count One

              Violation: 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1)

              Penalty: Imprisonment for not less than five years and not more than
                                   twenty years; but if the defendant has a prior conviction under
                                   this chapter, section 1591, chapter 71, chapter 109A, chapter
                                   117, or under section 920 of title 10 (article 120 of the
                                   Uniform Code of Military Justice), or under the laws of any
                                   State relating to aggravated sexual abuse, sexual abuse, or
                                   abusive sexual conduct involving a minor or ward, or the
                                   production, possession, receipt, mailing, sale, distribution,
                                   shipment, or transportation of child pornography or sex
                                   trafficking of children, such person shall be imprisoned for
                                   not less than fifteen years and not more than forty yea s; a
                                   fine of not more than $250,000; and a term of supervised
                                   release of not less than five years to life.

              Special Assessment: $ 100.00


                                        Counts Two and Three

              Violation: 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)

              Penalty: Imprisonment for not more than ten years; but if any image of
                               child pornography involved in the offense involved a
                               prepubescent minor or a minor who had not attained 12 years
                               of age, such person shall be imprisoned for not more than
                               twenty years; and, if the defendant has a prior conviction
                               under this chapter, section 1591, chapter 71, chapter 109A,

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                                 chapter 117, or under section 920 of title 10 (article 120 of the
                                 Uniform Code of Military Justice), or under the laws of any
                                 State relating to aggravated sexual abuse, sexual abuse, or
                                 abusive sexual conduct involving a minor or ward, or the
                                 production, possession, receipt, mailing, sale, distribution,
                                 shipment, or transportation of child pornography or sex
                                 trafficking of children, such person shall be imprisoned for
                                 not less than ten years and not more than twenty years; a fine
                                 of not more than $250,000; and a term of supervised release
                                 of not less than five yea s to life.

              Special Assessment: $ 100.00




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